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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


PETERSEN ENERGÍA INVERSORA, S.A.U. and
PETERSEN ENERGÍA, S.A.U.,

                                  Plaintiffs,

               -against-

ARGENTINE REPUBLIC and YPF S.A.,                                 Case Nos.:

                                  Defendants.                    1:15-cv-02739-LAP
                                                                 1:16-cv-08569-LAP

ETON PARK CAPITAL MANAGEMENT, L.P.,
ETON PARK MASTER FUND, LTD., and
ETON PARK FUND, L.P.,

                                  Plaintiffs,

               -against-

ARGENTINE REPUBLIC and YPF S.A.,

                                  Defendants.



                      DECLARATION OF C. HARKER RHODES IV
                 IN SUPPORT OF PLAINTIFFS’ POST-HEARING BRIEF

       I, C. Harker Rhodes IV, declare:

       1.      I am a partner of the firm Clement & Murphy PLLC and one of the attorneys

representing Petersen Energía Inversora, S.A.U., Petersen Energía, S.A.U. (together, “Petersen”),

and Eton Park Capital Management, L.P., Eton Park Master Fund, Ltd., and Eton Park Fund, L.P.

(together, “Eton Park,” and with Petersen, “Plaintiffs”) in the above-captioned actions.

       2.      The purpose of this Declaration is to submit documents to the Court in support of

Plaintiffs’ Post-Hearing Brief.
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        3.      Attached as Exhibit A is a true and correct copy of a July 28, 2023 radio interview

by YPF Chairman Pablo Gerardo González, in original Spanish with accompanying certified

English translation.

        4.      Attached as Exhibit B is a true and correct copy of excerpts from a July 30, 2023

interview by Axel Kicillof, in original Spanish with accompanying certified English translation.

        5.      Attached as Exhibit C is a true and correct copy of Plaintiffs’ summary of interest

rate determinations in cases before the National Court of Appeals for Commercial Matters

(“Cámara Nacional de Apelaciones en lo Comercial”).

        6.      Attached as Exhibit D is a true and correct copy of excerpts from Argentine Law

23,661, in original Spanish with accompanying certified English translation.

        7.      Attached as Exhibit E is a true and correct copy of excerpts from Argentine Law

24,481, in original Spanish with accompanying certified English translation.

        8.      Attached as Exhibit F is a true and correct copy of excerpts from Argentine Law

27,442, in original Spanish with accompanying certified English translation.

        9.      Attached as Exhibit G is a true and correct copy of excerpts from Argentine Law

27,444, in original Spanish with accompanying certified English translation.

        10.     Attached as Exhibit PX-3 is a true and correct copy of the Bylaws of YPF S.A. in

effect during 2012, in original Spanish with accompanying certified English translation, which

was admitted in evidence by agreement. Exhibit PX-3 was previously filed in this litigation as

ECF Nos. 364-1 (in English), 364-2 (in Spanish), and ECF No. 468-2 (Exhibit B to Plaintiffs’ Pre-

Trial Brief).

        11.     Attached as Exhibit PX-6 is a true and correct copy of the minutes of the March

21, 2012 meeting of the YPF S.A. Board of Directors, in original Spanish with accompanying



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certified English translation, which was admitted in evidence by agreement. Exhibit PX-6 was

previously filed in this litigation as ECF No. 468-5 (Exhibit E to Plaintiffs’ Pre-Trial Brief).

       12.     Attached as Exhibit PX-11 is a true and correct copy of Argentine Decree No.

530/2012, in original Spanish with accompanying certified English translation, which was

admitted in evidence by agreement. Exhibit PX-11 was previously filed in this litigation as ECF

No. 377-16 and ECF No. 468-1 (Exhibit A to Plaintiffs’ Pre-Trial Brief).

       13.     Attached as Exhibit PX-15 (Excerpts) is a true and correct copy of excerpts from

Plaintiffs’ Exhibit PX-15, the Transcript of Speech by the Secretary of Economic Policy and

Development Planning, Axel Kicillof, on April 17, 2012 to the Argentine Senate, in original

Spanish with accompanying certified English translation. The complete version of Plaintiffs’

Exhibit PX-15 was previously filed in this litigation as ECF Nos. 364-74 and 364-75.

       14.     Attached as Exhibit PX-24 is a true and correct copy of YPF’s SEC Form 6-K,

filed April 23, 2012, which was admitted in evidence by agreement. Exhibit PX-24 was previously

filed in this litigation as ECF No. 377-53.

       15.     Attached as Exhibit PX-28 is a true and correct copy of the Class Action Complaint

in Repsol YPF, S.A. v. Republic of Argentina, No. 12-cv-3877 (S.D.N.Y. May 15, 2012).

Exhibit PX-28 was previously filed in this litigation as ECF No. 364-18.

       16.     Attached as Exhibit PX-29 (Excerpts) is a true and correct copy of excerpts from

Plaintiffs’ Exhibit PX-29, YPF’s SEC Form 20-F, filed May 16, 2012, which was admitted in

evidence by agreement.

       17.     Attached as Exhibit PX-35 is a true and correct copy of TTN Resolution No.

9/2013, in original Spanish with accompanying certified English translation, which was admitted




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in evidence by agreement. Exhibit PX-35 was previously produced in this litigation with Bates

numbers YPFPT-HARRIS00000045-YPFPT-HARRIS00000067.

       18.      Attached as Exhibit PX-36 (Excerpts) is a true and correct copy of excerpts from

Plaintiffs’ Exhibit PX-36, the Argentine Republic and Repsol’s Agreement for the Amicable

Settlement and Compromise of Expropriation, dated February 27, 2014, in original Spanish with

accompanying certified English translation, which was admitted in evidence by agreement. The

complete version of Plaintiffs’ Exhibit PX-36 was previously filed in this litigation as ECF No.

468-10 (Exhibit J to Plaintiffs’ Pre-Trial Brief).

       19.      Attached as Exhibit PX-39 is a true and correct copy of a transcript of speeches by

Dr. Carlos Zannini and Daniel Martin to the Argentine Chamber of Deputies on April 8, 2014, in

original Spanish with accompanying certified English translation, which was admitted in evidence

by agreement.

       20.      Attached as Exhibit PX-47 is a true and correct copy of a demonstrative showing

closing prices of YPF ADRs from April 13, 2012 to May 8, 2012.

       21.      Attached as Exhibit PX-70 is a true and correct copy of the Declaration of Alberto

B. Bianchi, dated December 3, 2021.

       22.      Attached as Exhibit PX-81 is a true and correct copy of the Declaration of Alberto

B. Bianchi, dated September 24, 2021.

       23.      Attached as Exhibit PX-82 is a true and correct copy of the Declaration of Alberto

B. Bianchi, dated January 14, 2022.

       24.      Attached as Exhibit DX-22t is a true and correct copy of the certified English

translation of Argentine Decree 732/2012, which was admitted in evidence by agreement.

Exhibit DX-22t was previously filed as ECF No. 299-75.



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       25.     Attached as Exhibit PLA-4 (Excerpts) is a true and correct copy of excerpts from

Plaintiffs’ Exhibit PLA-4, the Civil Code of Argentina, with excerpted translations highlighted in

Spanish original. The complete version of Plaintiffs’ Exhibit PLA-4 was previously filed in this

litigation as ECF No. 470-04.

       26.     Attached Exhibit PLA-7 is a true and correct copy of Argentine Law No. 21,499,

the General Expropriation Law. Exhibit PLA-7 was previously filed in this litigation as ECF No.

470-7 and ECF No. 468-6 (Exhibit F to Plaintiffs’ Pre-Trial Brief).

       27.     Attached as Exhibit PLA-9 is a true and correct copy of All Food S.A. s/Concurso

Preventivo s/Incidente de Revision de Credito de Garantia de Valores S.G.R., Cámara Nacional

de Apelaciones en lo Comercial, Sala F, 18 July 2019, in original Spanish with accompanying

certified English translation. Exhibit PLA-9 was previously filed in this litigation as ECF No. 470-

09.

       28.     Attached as Exhibit PLA-10 is a true and correct copy of Almiron, Santa Brigida

c. Origenes Seguros De Retiro S.A. s/Ordinario, Cámara Nacional de Apelaciones en lo

Comercial, Sala A, 6 March 2018, in original Spanish with accompanying certified English

translation. Exhibit PLA-10 was previously filed in this litigation as ECF No. 470-10.

       29.     Attached as Exhibit PLA-11 is a true and correct copy of Argencip S.A v. Fondo

Compensador Para Jubilados Y Pensionades Telefonicos, Cámara Nacional de Apelaciones en lo

Comercial, Sala A, 30 June 2010, in original Spanish with accompanying certified English

translation. Exhibit PLA-11 was previously filed in this litigation as ECF No. 470-11.

       30.     Attached as Exhibit PLA-15 is a true and correct copy of Bengen, Alvaro Arcadio

c/ HSBC Seguros de Vida Argentina S.A. s/Ordinario, Cámara Nacional de Apelaciones en lo




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Comercial, Sala E, 12 July 2018, in original Spanish with accompanying certified English

translation. Exhibit PLA-15 was previously filed in this litigation as ECF No. 470-15.

       31.     Attached as Exhibit PLA-17 is a true and correct copy of Bicondoa Mendiboure

Mabel Noemi c/ Zalcwas Marcelo Manuel s/ Ejecutivo, Cámara Nacional de Apelaciones en lo

Comercial, Sala C, 22 Dec. 2015, in original Spanish with accompanying certified English

translation. Exhibit PLA-17 was previously filed in this litigation as ECF No. 470-17.

       32.     Attached as Exhibit PLA-21 is a true and correct copy of Caserta, Daniel c/

Bovone, Adrian Guillermo s/ Ejecutivo, Cámara Nacional de Apelaciones en lo Comercial, Sala

D, 11 Oct. 2018, in original Spanish with accompanying certified English translation.

Exhibit PLA-21 was previously filed in this litigation as ECF No. 470-21.

       33.     Attached as Exhibit PLA-28 is a true and correct copy of Genexa S.A. c. Banco de

Galicia y Buenos Aires, Cámara Nacional de Apelaciones en lo Comercial, Sala A, 27 March 2008,

in original Spanish with accompanying certified English translation.        Exhibit PLA-28 was

previously filed in this litigation as ECF No. 470-28.

       34.     Attached as Exhibit PLA-51 is a true and correct copy of Vedebe Trading S.A.

c/Fideicomiso Josa I s/ Ejecucion Prendaria, Cámara Nacional de Apelaciones en lo Comercial,

Sala C, 12 Nov. 2015, in original Spanish with accompanying certified English translation.

Exhibit PLA-51 was previously filed in this litigation as ECF No. 470-54.

       35.     Attached as Exhibit PLA-81 is a true and correct copy of Arauz, Mirta Cristina c.

Castiglione, Juan Carlos Antonio, Cámara Nacional de Apelaciones en lo Comercial, Sala B, 31

Aug. 2007, in original Spanish with accompanying certified English translation. Exhibit PLA-81

was previously filed in this litigation as ECF No. 478-29.




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my information and belief.

       Executed this 4th day of August, 2023.


                                                        /s/ C. Harker Rhodes IV
                                                        C. Harker Rhodes IV




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